Case 8:21-cv-00439-SDM-TGW Document 1-7 Filed 02/24/21 Page 1 of 3 PageID 112




                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                          TAMPA DIVISION

  VIRAL STYLE, LLC,

             Plaintiff,
 v.                                             Case No.

  IRON MAIDEN HOLDINGS LTD.
  and AM SULLIVAN LAW, LLC,

             Defendants.
                                       /

                                EXHIBIT F

                                    TO

                               COMPLAINT
     CaseCase:
         8:21-cv-00439-SDM-TGW
               1:20-cv-05251 Document
                                  Document
                                      #: 21 Filed:
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                                                   Filed 02/24/21
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                                                                                #:439 113



                           IN THE UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION


XYZ CORPORATION,                                            CASE NO.: 1:20-CV-05251

         PLAINTIFF,
                                                            JUDGE THOMAS M. DURKIN
V.

THE PARTNERSHIPS AND UNINCORPORATED                         MAGISTRATE JUDGE SUNIL R. HARJANI
ASSOCIATIONS IDENTIFIED ON SCHEDULE A,

         DEFENDANTS.


                                        NOTICE OF DISMISSAL

             Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

      Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

      Complaint:

                          NO.                           DEFENDANT
                           93                            VIRALSTYLE


          Dated:      October 2, 2020             Respectfully submitted,

                                                  /s/ Alison Carter
                                                  Ann Marie Sullivan
                                                  Alison Carter
                                                  AM Sullivan Law, LLC
                                                  1440 W. Taylor St., Suite 515
                                                  Chicago, Illinois 60607
                                                  Telephone: 224-258-9378
                                                  E-mail: ams@amsullivanlaw.com
                                                  ATTORNEYS FOR PLAINTIFF
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                                  CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing

 document was electronically filed on October 2, 2020 with the Clerk of the Court using the

 CM/ECF system, which will automatically send an email notification of such filing to all registered

 attorneys of record.


                                                         /s/ Alison Carter
                                                         Alison Carter




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